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                                     Waymo v. Uber
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                   TRIAL EXHIBIT 7111

Uber Objections:

             Fed. R. Evid. 802 – This document contains inadmissible hearsay; namely, out of court
              statements made by Anthony Levandowski, who participated in the Stroz diligence process in his
              individual capacity. See Br. § I.

             Fed. R. Evid. 805 – This document contains inadmissible hearsay within hearsay; namely,
              Anthony Levandowski’s recitation of out of court statements made by other declarants. See Br.
              § I.

             Fed. R. Evid. 403 – Because the document is replete with embedded hearsay, the Court should
              exercise its discretion under Rule 403 to exclude any reliance on the document for its truth, to
              prevent jury confusion about what fragments are admissible for truth, and resulting waste of time
              and prejudice to Uber. See Br. § IV.

             This exhibit contains references to, and attaches a copy of, Anthony Levandowski’s employment
              agreement, which Waymo stipulated that it would not make reference to in its case in chief. See
              Dkt. 425 at 4.

             Designated witnesses who received this document pre-litigation are: Eric Tate, John Gardner,
              Adam Bentley, Justin Suhr, Angela Padilla, Cameron Poetzscher, Nina Qi, and Salle Yoo.
              Except through Suhr, Padilla, Poetzscher, Qi, or Yoo, the document therefore cannot be admitted
              for a non-hearsay purpose of notice to Uber or Ottomotto. See Br. § IV. Only Tate and Gardner
              received this document as an Exhibit to the Stroz Report; the remaining witnesses received an
              identical document in April 2016, well before the Stroz Report was written.


                 Yellow Highlights                                       Hearsay Statements

                   Blue Highlights                                Hearsay within Hearsay Statements
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                                          MEMORDANUM
           To:     John Gardner
           From: Stroz Friedberg
           Date:   April 2, 2016
           Re:     DRAFT Summary Interview of Anthony Levandowski
           ______________________________________________________________________________
           On March 22 and 23, 2016, Mary Fulginiti, Melanie Maugeri, and Hanley Chew interviewed
           Anthony Levandowski at the offices of Stroz Friedberg on 101 Montgomery Street, Suite 2200,
           San Francisco, California 94104. On April 1, 2016, Mary Fulginiti and Hanley Chew conducted a
           follow-up interview of Levandowski via telephone.
           Employment at Google
           Anthony stated that he began working for Google on April 9, 2007 when Google acquired
           Vutool, a company founded by Levandowski, [Multiple Names Redacted], which specialized in
           mapping technology. Following the acquisition, all of the founders joined Google. Vutool
           became Google’s Street View Project, which is a technology that provides a panoramic view of
           streets for Google Maps and other apps.
                   Employment Documents and Training at Google
           When Levandowski joined Google, he signed an employment agreement which contained
           invention, nondisclosure, non-solicitation, and conflicting employment provisions, among other
           things. Levandowski understood these provisions to prohibit him from disclosing any of
           Google’s “secrets,” and from approaching Google employees to work for him after he was no
           longer working at Google. He also recalled that he could work on side projects while employed
           with Google provided they did not relate to Google business. Levandowski recalled that Google
           provided training on how to handle queries and user data, but he did not recall any training
           regarding confidentiality or non-solicitation. Levandowski was shown a copy of his signed At-
           Will Employment, Confidential Information, Invention Assignment and Arbitration Agreement,
           which was attached to a February 1, 2016 letter from Google’s legal counsel, Jade Wagner. He
           reviewed said letter and agreement and confirmed that they were true and correct copies of
           said documents. They are attached hereto as Exhibit 3.
           At the time that he started working for Google in 2007, Levandowski said that his title was
           Software Engineer on the Street View Project, also referred to internally as City Block.
           [Redacted] was his supervisor. Levandowski’s duties were to build out the vehicles worldwide.
           From 2008 through 2009, Levandowski worked on a project known as GEOS, which involved
           aerial imagery collection. In 2008, he also set up operations in Mountain View and India to help


                                                          1




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           establish a database behind the maps. The internal name for this project at Google was Ground
           Truth or GT.
           In 2009, Levandowski left the Street View Project and joined the Chauffeur Project, which is
           also known internally as the Self Driving Car Project and SDC. In 2011, Levandowski was
           promoted to Engineering Manager on the Chauffeur Project. However, Levandowski stated
           that, despite his title, he acted primarily as a Product Manager. In 2011, [Redacted] became
           Levandowski’s supervisor. In late 2014, [Redacted] became Levandowski’s supervisor. When
           asked what his responsibilities were he stated that he oversaw the design, production,
           installation, and software required for running the lasers, among other things. He also helped
           draft legislation in Nevada regarding autonomous cars. Some of the names for the prototype
           self-driving cars were Herbie, Kitt, Karr, Big Foot, Pribot, Ecto1, and Firefly.
           He also consulted on a number of other projects at Google such as Cardboard (inexpensive
           virtual reality headsets) and Telepresence Robots (virtual reality headsets). He said he never
           wrote any software code for any of the projects he worked on.
           Levandowski stated that, at the end of his time at Google, he managed 25 employees. He
           wrote the names of the individuals he managed on a separate piece of paper during the
           interview. A copy of that document is attached hereto as Exhibit 5. He had access to their
           compensation information, work evaluations, performance scores, home addresses and other
           managerial information as part of his duties and responsibilities. Levandowski stated that some
           of this employee data would be located on his primary laptop, Apple MacBook Pro.
           Levandowski said that he did not have HR access to the personnel files of the individuals who
           reported to him.
           Stroz Friedberg interviewers showed Levandowski a list of names that was provided to us
           through his counsel marked Confidential Work Product/Attorney-Client Privileged and dated
           March 12, 2016. He recognized the list as the one he created which included, to the best of his
           recollection, all of the individuals he worked with at Google during his tenure. He also
           identified individuals on the list with whom he spoke before and after he founded OttoMotto
           and those individuals who are currently employed with OttoMotto. A copy of said list with
           Levandowski’s markings is attached hereto as Exhibit 4. On a separate copy of the same list, he
           checked off individuals he worked closely with at Google. This separately marked list is
           attached hereto as Exhibit 6. When asked if he referenced a Google directory to compose this
           list he said he did not. He said he referenced his contacts on his iPhone.
           Levandowski identified the following individuals as those with whom he worked closely during
           his time at Google: [Multiple Names Redacted]. See Exhibit 6.
                  Side Projects at Google
           During his tenure at Google, Levandowski stated that he participated in a number of external
           side projects that were not Google-related as an owner, investor and/or advisor. Levandowski

                                                           2




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           stated that Google was aware that its employees were engaging in external side projects, and
           did not object to them provided they did not compete or overlap with Google’s businesses.
           Levandowski stressed that Google was aware, and approved, of all of his external side projects.
           Those projects are listed below.

               ·   Future Game (owner) - a stock market predictor game.
               ·   Prototype This - a television show on the Discovery Channel which featured robots
                   delivering pizza. This television show became the basis for Anthony’s Robots, which
                   Levandowski founded in 2008. Levandowski stated that he never used any funds from
                   Google for Anthony’s Robots.
               ·   Anthony’s Robots (owner) – provided equipment hardware to help drive vehicles.
                   Google acquired Anthony’s Robots in October 2011.
               ·   510 Systems (investor) – Anthony’s Robots used 510 Systems. Levandowski was an
                   investor in 510 Systems, beginning in 2005. 510 Systems was engaged in developing
                   technology for mobile mapping. Google acquired 510 Systems in October 2011.
               ·   Tiramisu (advisor) – a small airplane that picks up items and octocopter that picks up
                   people.
               ·   Glimmer (investor) – three second video sharing.
               ·   Date Knight (investor) – a dating companion app.
               ·   Nemo Building System (owner) – modular building manufacturing company.
               ·   East Bay Portfolio (investor) – real estate development fund.
                   Devices and Data Accessed at Google
           Over the course of his time at Google, Levandowski was issued a number of devices. Google
           gave him 2 Linux desktops and 6 laptops (2 Lenovo laptops, 2 Chromebooks, 1 Linux laptop, 1
           Windows laptop) and a Blackberry. When he left Google, Levandowski had 2 Linux desktops
           and 2 laptops, all of which he returned to Google.
           Levandowski stated that, when he worked at Google, he created operational manuals and
           checklists (i.e., manuals on how to operate the Street View car, how the systems fit together
           etc.), design documents, both public and internal presentations, training information, and aerial
           imagery. All of these documents were stored on the corporate Google Drive in the Google Docs
           folder. Levandowski stated that he would access these documents primarily through Google
           Drive on his work devices. Levandowski also stated that, although he used his Google-issued
           laptops to work on Google-related documents, he also used his personal laptop.1 Levandowski
           further stated that he stored Google documents on his personal devices, such as his laptop,
           phone, hard drives and thumb drives. He also stated in his Diligenced Employee Questionnaire
           that he used his personal tablet, phone, laptop and desktop to access Google Docs (not the


           1
            Levandowski explained that it was common for Google to enable the personal devices of its employees to access
           the corporate Google drive.

                                                                  3




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           corporate network directly). He further explained that he rarely accessed the Google network
           remotely with any of his devices.
           Levandowski acknowledged that he did use USB’s to transfer data from his desktop to the self-
           driving cars that his team was working on. However, Levandowski stated that this was a
           common practice at Google and Google tracked the USB’s used in these transfers very closely.
           Levandowski stated that he returned all of the Google’s USB’s and destroyed all of the personal
           USB’s in his possession because he had heard that they might contain spyware.2 When asked
           what information was present in the USB’s he destroyed, Levandowski stated that it was likely
           trade show information, vendor sheets, and files that he may have been moving. Levandowski
           denied putting any source code or other proprietary Google information on any of his personal
           USB’s.
           Levandowski stated that he did email Google files to his personal email account,
           levandosky@gmail.com. He noted that these files were mainly presentations or other
           information that was going to be shared publicly. When asked if he emailed himself any
                                                        d, “No, I don’t think so.”
           technical or proprietary information he stated,
           As discussed in more detail below in the Personal Devices section, Levandowski identified 3
           places on his Apple MacBook Pro laptop, where Google-related information was stored: (1)
           Downloads folder; (2) Dropbox folder; and (3) his Chauffeur folder. He stated that this
           information was stored on his laptop in the normal course of his work at Google. He did not
           recall if he possessed any additional potentially proprietary and confidential information.
           Contacts With Google Employees About New Company
           Prior to leaving Google, Levandowski spoke with a number of Google employees about his start-
           up company. According to Levandowski, these discussions occurred on a one-on-one basis,
           during social gatherings and/or in a group setting at his house. Below is a list of the individuals
           he met with and a summary of what they discussed.
                   One-on-One Meetings with Google Employees
           Levandowski identified the following Google employees he spoke with one-on-one concerning
           his start-up company: [Multiple Names Redacted]. Levandowski recalls that all of these
           individuals worked in close proximity with him so they typically talked in person.
                       Google Employees Who Joined OttoMotto3

                       ·   Lior Ron


           2
             Levandowski stated that [Redacted], his supervisor at Google at the time, was aware of Levandowski’s
           destruction of the USB’s.
           3
             Although OttoMotto was previously named 280 Systems, we refer to the new company as OttoMotto throughout
           for ease of reference.

                                                               4




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           Lior Ron and Levandowski knew each other because Ron ran a competitive project at Google
           (i.e., map making). Ron contacted Levandowski in August 2015 to get together. Their first
           meeting occurred over lunch on the Google campus where they talked about the status of the
           Chauffeur Project and about Ron possibly joining the Chauffeur team. Levandowski also told
           Ron about his dissatisfaction with the team and the direction of the project.
           They had a follow-up meeting that weekend as they lived close to one another. They took a
           walk around the block. Ron detailed what was going on with Google’s new clothing technology.
           Levandowski and Ron also talked about robot trucks, the trucking market, and the opportunity
           for these trucks to be part of Alphabet (Google’s holding company). They also talked about
           aftermarket kits, which could convert existing cars into self-driving cars. They discussed trying
           to do the above together and trying to figure out a way to do it at Google.
           A few weeks later in early September 2015, Levandowski stated that things began to “solidify”
           in a meeting with Ron. They discussed starting their own company. Levandowski wanted to
           think things through before doing anything and they both discussed possibly waiting until they
           left Google.
           In September 2015, they met with a lawyer. In mid-to-late September 2015, Levandowski and
           Ron began meeting with Uber. (The subsequent meetings with Uber are described below.)
           In or about November 2015, Levandowski and Ron realized that building something new at
           Google was too complicated and that they needed to leave so that they could pursue their
           interest in robot trucks. They talked about their respective roles. Levandowski would be
           responsible for building the technology and Ron would be responsible for running the business.

                      ·   [Redacted]
           [Redacted] was a Software Engineer for Google’s Chauffeur Project. Levandowski knew
           [Redacted] was frustrated at Google. [Redacted] and Levandowski had two in-person meetings
           on the Google campus in January 2016. The first meeting was initiated by Levandowski when
           Levandowski asked [Redacted] how he was doing during a walk around the Google campus.
           Levandowski informed [Redacted] he was leaving Google to form a start-up company. The
           second meeting was initiated by [Redacted], who asked Levandowski additional questions
           about Levandowski’s new venture. [Redacted] received an offer to join OttoMotto prior to his
           departure from Google. [Redacted] joined OttoMotto on February 25, 2016

                      ·   [Redacted]
           [Redacted] was a Software Engineer for Google. Levandowski and [Redacted] used to date and
           had many discussions concerning robots. [Redacted] and Levandowski met three to four times
           concerning Levandowski’s new venture, beginning in September 2015 and continuing through
           January 2016. They discussed the software requirements for robot trucks. [Redacted] left
           Google two weeks after Levandowski departed and joined OttoMotto.


                                                           5




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                    · [Redacted]

           [Redacted] was a Software Engineer at Google. [Redacted] introduced [Redacted] to
           Levandowski. Levandowski met with [Redacted] two times: once at Google, and the second
           time near Levandowski’s house. They discussed Levandowski’s new venture. [Redacted]
           received an offer from OttoMotto in January 2106. [Redacted] left Google in early March 2016
           and joined OttoMotto.
                  Google Employees Who Received An Offer But Did Not Join OttoMotto

                     ·   [Redacted]
           [Redacted] is the lead Hardware Engineer for Google’s Chauffeur Project. Levandowski began
           speaking with [Redacted] in December 2015 about different options for a new start-up
           company. Levandowski does not recall if he approached [Redacted] or vice versa. At first,
           [Redacted] and Levandowski talked about doing the start-up at Alphabet but eventually
           decided to form a separate company. They spoke regularly between December 2015 and
           January 2016 and often met at each other homes  s. [Redacted] was more interested in the robot
                                                      homes.
           trucks, than the aftermarket kits. [Redacted] wanted to be a founder and agreed to match
           Ron’s stake and commit funds. [Redacted] actively recruited employees to leave Google and
           join the new company. [Redacted] even delivered offer letters to people. In the end,
           [Redacted] did not end up joining OttoMotto because he had a “nervous breakdown” after
           Levandowski left Google.

                     ·   [Redacted]
           [Redacted] is a Mechanical Engineer for Google’s Chauffeur Project. [Redacted] and
           Levandowski had three one-on-one meetings between December 2015 and January 2016.
           Levandowski cannot recall who approached whom. [Redacted] wanted to invest in
           Levandowski’s new venture. [Redacted] requested a specific number of engineers and wanted
           Levandowski to hire his brother. [Redacted] received an offer from OttoMotto, but did not join
           the company.

                     ·   [Redacted]
           [Redacted] is a Manufacturing Engineer for Google’s Chauffeur Project. After speaking with
           [Redacted], [Redacted] approached Levandowski. They met three times between December
           2015 and January 2016; usually during [Redacted]’ regular bimonthly update meetings with
           Levandowski at Google. They talked mainly about products, specifically robot trucks versus
           aftermarket kits. During this time, [Redacted] was pregnant and asked Levandowski about the
           maternity leave policy and her potential role in the new company. [Redacted] received an offer
           to join OttoMotto, but did not join the company.

                     ·   [Redacted]


                                                         6




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           [Redacted] is a Mechanical Engineer for Google’s Chauffeur Project. [Redacted] and
           Levandowski met two times -- January 15, 2016 and January 23, 2016. At the January 15th
           meeting, [Redacted] approached Levandowski and asked Levandowski what he was “up to.”
           Levandowski replied that he was thinking of leaving Google and doing something in the robot
           truck space. On January 23, 2106, [Redacted] approached Levandowski at work and asked if
           they could meet. Later that day they met in the street near Levandowski’s house and talked
           about salary and expectations. Shortly after [Redacted] received an offer letter but did not end
           up joining the company.

                      ·   [Redacted]
           [Redacted] is a Mechanical Engineer for Google’s Chauffeur Project. [Redacted] and
           Levandowski met four times between December 2015 and January 2016. Levandowski does not
           recall who approached whom regarding the start-up company. Their conversations in
           December 2015 centered on the business climate for autonomous vehicles and general
           strategies. [Redacted] and Levandowski had had conversations in prior years about working on
           a project together at Google and there was a general understanding that if they could not do
           make it work at Google they would leave and launch a start-up company, but nothing specific.
           [Redacted] and Levandowski started talking specifically about creating a separate company in
           January 2016. [Redacted] sent Levandowski a text message requesting that he set up a meeting
           to discuss the new venture with other employees. In January 2016, [Redacted] sent a calendar
           invite to several Google employees at their Google email addresses setting up an evening
           meeting to discuss the new company. [Redacted] received an offer to join OttoMotto but did
           not do so.

                      ·   [Redacted]
           [Redacted] is a Software Engineer for Google’s Chauffeur Project. [Redacted] approached
           Levandowski on January 15, 2016 after his discussions with Pierre [Redacted] and Luke
           [Redacted]. [Redacted] had heard from [Redacted] and [Redacted] about Levandowski’s new
           venture and wanted to know if it would be based in San Francisco since he did not want a long
           commute. [Redacted] and Levandowski did not have any additional communications about the
           new company. [Redacted] received an offer to join OttoMotto but he did not do so.

                      ·   [Redacted]
           [Redacted] is a Software Engineer for Google’s Chauffeur Project. [Redacted] and Levandowski
           met twice on the Google campus in January 2016. The first meeting was initiated by [Redacted]
           who had heard about Levandowski’s new venture and wanted to learn more about it.
           Levandowski told him to talk to other people about it. The second meeting was initiated by
           Levandowski, who wanted to confirm [Redacted]’s interest in the new company and asked
           [Redacted] what he told others about joining Levandowski’s new venture. [Redacted] received
           an offer letter to join OttoMotto and signed it but did not ultimately join the company.


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                    · [Redacted]

           [Redacted] is a Software Engineer for Google’s Chauffeur Project. [Redacted] initially
           approached [Redacted] about Levandowski’s new venture. [Redacted] followed up with
           [Redacted]. Levandowski met with [Redacted] three times in January 2016. The first time
           [Redacted] tapped Levandowski on the shoulder at work and asked him to take a walk around
           the block. During this first meeting, [Redacted] requested information about the new
           company. [Redacted] requested a second meeting during the work day where they discussed
           his potential salary. The third meeting occurred after work at [Redacted]’s request where they
           continued to discuss salary and [Redacted] expressed his interest in joining the new company.
           [Redacted] received an offer to join OttoMotto, but did not do so.

                     ·   [Redacted]
           [Redacted] is a Hardware Engineer for Google’s Chauffeur Project. Pierre [Redacted] initially
           approached [Redacted], who later initiated three meetings with Levandowski in January 2016.
           In the three meetings, [Redacted] and Levandowski talked about more technical things, such as
           what types of sensors they should develop (cameras, radar) and why robots are important.
           They also eventually talked about [Redacted]’ compensation with Levandowski’s new venture.
           [Redacted] received an offer to join OttoMotto but decided not to join the company.

                     ·   [Redacted]
           [Redacted] is a Mechanical Engineer for Google’s Chauffeur Project. Levandowski approached
           [Redacted] because Levandowski knew that [Redacted] was unhappy at Google and he wanted
           to “give him a heads up.” They had two meetings in late January 2016: one at Google, and one
           at [Redacted]’ house. At the first meeting, Levandowski told him he was leaving the Chauffeur
           team to start a new company and that he needed a team. They spoke about robot trucks and
           [Redacted] expressed an interest in joining the company.. At the second meeting the following
           day at [Redacted]’ house, Levandowski made [Redacted] a verbal offer to join OttoMotto.
           [Redacted] ultimately declined to join OttoMotto.

                     ·   [REDACTED]
           [Redacted] is a User Experience Designer for Google. [Redacted] and Levandowski had three
           meetings. The first meeting occurred on January 5, 2016. Levandowski approached [Redacted]
           at Google and said, “Do you want to talk?” Levandowski told him about his concerns with the
           direction of the Chauffer Project and asked [Redacted] what he thought about the proposed
           new company. The second meeting was unplanned and occurred approximately five days later
           when Levandowski was having coffee and discussing the new company with Matt [Redacted] at
           Philz Coffee Shop located in Palo Alto. [Redacted] ran into them and joined the conversation.
           The third meeting was a phone conversation initiated by [Redacted] in or about mid-January
           2016. Levandowski and [Redacted] talked about the plan going forward. [Redacted] told
           Levandowski that he received more money to stay and asked if he could join Levandowski later.

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           Levandowski believed [Redacted] may have given [Redacted] an offer letter to join OttoMotto.
           [Redacted] did not join the company.

                     ·   [Redacted]
           [Redacted] is a Program Manager for Google’s Chauffeur Project. He manages the “human”
           side of the car. [Redacted] used to work for [Redacted] at Google. [Redacted] initiated a
           conversation with Levandowski in January 2016 after a conversation he had with [Redacted]
           about the new company. Levandowski told [Redacted] about his new venture with trucks and
           they briefly discussed compensation. [Redacted] received an offer to join OttoMotto, but did
           not do so. Levandowski believes that [Redacted], like [Redacted], received more money to
           remain at Google and will eventually join OttoMotto.
                     Google Employees Who Did Not Receive An Offer To Join OttoMotto

                     ·   [Redacted]
           [Redacted] is a Software Engineer for Google’s Chauffeur Project. [Redacted] approached
           Levandowski about joining Levandowski’s new venture in January 2016. They had two
           meetings on the Google campus and one discussion via telephone, which was initiated by
           [Redacted]. Also, there may be some text messages between the two. They discussed
           potential compensation and [Redacted]’s role at the new company. Levandowski did not
           encourage [Redacted] to leave Google because he felt that [Redacted] was too pushy. The only
           reason that Levandowski was talking to [Redacted] was because [Redacted] was friends with
           [Redacted].

                     ·   [Redacted]
           [Redacted] is a Product Manager for Google. Levandowski initially reached out to [Redacted] in
           November 2015, but they didn’t actually meet until January 2016. At that time, they met in
           downtown San Francisco and discussed why trucks are important and the macro picture of
           Levandowski’s new venture. [Redacted] did not receive an offer to join OttoMotto.
           Levandowski said there may have been a phone call or text message setting up a time to meet.

                     ·   [Redacted]
           [Redacted] is a Software Engineer for Google’s Chauffeur Project. [Redacted] approached
           Levandowski in December 2015 and again in January 2016. [Redacted] had heard that
           Levandowski was involved in a new venture and wanted to join. Levandowski was not
           interested in [Redacted] joining his new venture and did not encourage him to leave Google.
           [Redacted] did not receive an offer to join OttoMotto.

                     ·   [Redacted]
           [Redacted] is a mechanic for Google. [Redacted] was responsible for outfitting cars. [Redacted]
           approached Levandowski in January 2016 at Google. They talked about the plan for robot

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           trucks and [Redacted]’s potential salary. They met a second time in January 2016 at Google.
           Levandowski approached [Redacted] and said, “Let’s talk.” [Redacted] did not receive an offer,
           but [Redacted] was planning to wait until his bonus before leaving Google.

                      ·   [Redacted]
           [Redacted] is a Technical Product Manager for Google. [Redacted] and Levandowski worked
           together on the Street View Project. They began speaking about working on a new project back
           beginning in December 2014 through January 2015. In September 2015, [Redacted] and
           Levandowski talked about having their project be at Alphabet. However, [Redacted]
           encouraged Levandowski to leave Google. [Redacted] resigned from Google on January 4, 2016
           and left on January 9, 2016. Levandowski believes that [Redacted] will join him after
           [Redacted] returns from his vacation.

                      ·   [Redacted]
           [Redacted] is a Software Engineer for Google’s Chauffeur Project. In or about January 2016, but
           prior to Levandowski’s departure, Levandowski had lunch with [Redacted] at a restaurant near
           his house at [Redacted]’s request. This was a follow-up conversation to one of the group
           meetings described below. Levandowski discussed [Redacted]’s potential role at the new
           company as being similar to his current role at Google.

                      ·   [Redacted]
           [Redacted] is a Technical Product Manager for Google. [Redacted] was one of Levandowski’s
           managers at Google. [Redacted] expressed an interest in joining Levandowski, who believes
           that either [Redacted] or [Redacted] told [Redacted] about the new venture.
           In September 2015, [Redacted] approached Levandowski and asked him to go to dinner. During
           dinner, [Redacted] said to him,, “I know something’s up.” Levandowski did not trust [Redacted]
           and denied that anything was happening.
           In October 2015, Lewandowski discovered that [Redacted] approached Uber about potentially
           selling the vehicle team. Lewandowski felt that if [Redacted] was talking to Uber as well, they
           should all sit down together to negotiate a transaction. Levandowski initiated a meeting
           between [Redacted], Uber, and himself in October 2015. At that meeting, [Redacted]
           discovered that the level of discussion between Levandowski and Uber was much more
           advanced than [Redacted] had expected.
           [Redacted] decided to remain at Google when Google offered him $10 million to stay.
           [Redacted] was aware of what was going on with Levandowski, but was no longer involved in
           any discussions. He agreed to keep Levandowski’s pursuits confidential.

                      ·   [Redacted]



                                                          10




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           [Redacted] was the Vice President of Product Management for Google’s GEOS Project.
           [Redacted] left Google in mid-2015. Ron and Levandowski spoke to [Redacted] in September
           2015 about how to handle Google Legal, PR, and mechanics with regard to the new company.
           They also wanted [Redacted]’s insight on the aftermarket kits. [Redacted] did not receive an
           offer to join OttoMotto.
                         Group Contacts with Google Employee
           Levandowski identified four group contacts that he had with Google employees while he was at
           Google concerning his new company.
           The first group contact was a barbeque that Levandowski held at his house for the Laser team
           from Chauffer to celebrate a milestone in November 2015. They discussed work matters.
           However, there were a few side discussions between [Redacted], [Redacted], [Redacted]
           and/or Levandowski concerning his new company. Levandowski also spoke with Jonathan
           [Redacted], who observed [Redacted] speaking with Levandowski, and asked them what they
           were talking about. Levandowski responded that they are thinking of leaving Google and
           starting a new company focused on robot trucks. Ron was invited to the barbeque with the
           intent of introducing him to some of the individuals who might join the new company.
           The second contact was an evening meeting of about 15-20 individuals in December 2015
           organized by Levandowski at his house. This meeting was primarily organized by word of
           mouth. Levandowski did not recall any text messages or other electronic communications
           disseminated about this meeting. The individuals who attended included: [Redacted],
           [Redacted], [Redacted], [Redacted], [Redacted], [Redacted], [Redacted], Ron, [Redacted],
           [Redacted], Levandowski, [Redacted] and several individuals who did not work for Google. The
           purpose of the meeting was to gather everyone who was interested in the new company and to
           discuss the proposed business. Levandowski recalled that Ron might have done a presentation
           regarding the business of making robot trucks, but he was not certain.
           The third group contact was a ski trip to Lake Tahoe in early January 2016 organized and paid
           for by Levandowski. The ski trip was intended to be a team bonding exercise for the Chauffeur-
           Laser team. It was not an official Google activity. There were several side discussions between
           [Redacted], [Redacted], and Levandowski about how to build robot trucks without using any
           intellectual property from Google. They believed that they could do this without any prior
           designs or intellectual property from Google. Their intention was to build the robot trucks
           cleanly and from scratch. They discussed rebuying some the same parts from various Google
           vendors, but they were not going to remake what Google had already made.
           The fourth group contact was an evening meeting in late January 2016 (just before Levandowski
           resigned) organized by [Redacted] at Levandowski’s house. [Redacted], [Redacted], [Redacted],
           [Redacted], [Redacted], [Redacted], Wakerstoff, [Redacted], [Redacted], [Redacted], Ron,
           Levandowski, and several non-Google employees attended the meeting. Levandowski believes
           [Redacted] may have sent a calendar invite. The meeting was intended to discuss an exit
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           strategy from Google. The plan was that Levandowski would resign in the following few days
           and others would follow. [Redacted], [Redacted], and [Redacted] received offers that evening
           from Rhian Morgan, head of HR at OttoMotto. They were encouraging people to leave Google.
           On the Tuesday following this evening meeting, Levandowski and [Redacted] met about
           Levandowski’s role at Google going forward. [Redacted] was going to announce at the general
           team meeting later that day that Levandowski was leaving the Laser team but staying within
           Google. Levandowski stated that this announcement was a complete charade and that Google
           wanted to replace him with someone more loyal. At the general team meeting, after
           [Redacted] made his announcement and left the room, Levandowski stated that he was proud
           of the team and was undecided if he was leaving the company.
           Additional Contacts With Google Employees About Leaving
           In addition to the above discussions, Levandowski told the following individuals that he was
           leaving Google.

                      ·   [Redacted]
           [Redacted] is a Software Engineer with Google’s Chauffeur Project. In or about
           November/December 2015, Levandowski and [Redacted] discussed the direction of the
           Chauffeur project and Levandowski’s plans to possibly leave Google. Levandowski was trying to
           determine whether [Redacted] was dissatisfied with Google. [Redacted] told Levandowski to
           call him once he figured it all out.

                      ·   [Redacted]
           [Redacted] is a Software Engineer with Google’s Chauffeur Project. In December 2015/January
           2016 [Redacted] approached Levandowski about certain rumors that he was hearing.
           Levandowski did not tell [Redacted] about his new company because he did not trust
           [Redacted]. Sometime thereafter, [Redacted] reached out via text messages to arrange a time
           to speak with Levandowski. Levandowski confirmed that he could only speak about non-work
           related matters. [Redacted] came to Levandowski’s house and saw a large truck and
           Levandowski told him he was working on driverless trucks. Levandowski told him he could not
           recruit him.

                      ·   [Redacted]
           [Redacted] is a Software Engineer with Google’s Chauffeur Project. In January 2016, [Redacted]
           spoke with Levandowski about leaving Google and wanting to do something new. [Redacted]
           was interested in robots that can deliver products to people’s homes. Levandowski believes he
           also told [Redacted] he was planning on leaving Google at this time. They discussed the general
           state of robotic competitors but did not discuss Levandowski’s new venture. [Redacted] said he
           was worried that Levandowski might want to do something with Uber and he did not want to
           join a competitor.

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                    · [Redacted]

           [Redacted] is an Optical Engineer with Google’s Chauffeur Project. Levandowski told him he
           was leaving in January 2016 to make robot trucks. Levandowski did not recruit [Redacted] but
           he knew [Redacted] was very interested in having [Redacted] join the new company.
           Departure from Google
           Levandowski departed from Google on approximately January 26, 2016. However,
           Levandowski stated that he had been thinking of leaving Google since 2008. At that time,
           Levandowski spoke to [Redacted], a member of the Chauffeur project. They discussed the fact
           that human drivers were not particularly good, which led to the idea for Anthony’s Robots.
           However, Levandowski decided to stay at Google in 2008 because he felt that it was a great
           place to launch new projects.
           In 2011, when [Redacted] became Levandowski’s supervisor, there was some friction between
           the two and Levandowski considered leaving. However, Levandowski believed that Google was
           still the right place to see things through and there was a possibility that things could turn
           around.
           In 2015, as the deadline for launching the self-driving car approached, Levandowski felt that the
           Chauffeur project was on the wrong track. Google was focusing more on the design of the car,
           and less on the technology. Levandowski stated that he had some conversations with
           [Redacted], Google’s CEO, and that [Redacted] was sympathetic. Unfortunately, the focus of
           the Chauffer project did not change and Levandowski concluded, in late 2015, that it was time
           to move on.
           On January 25, 2016, Levandowski sent [Redacted] an email stating that Levandowski felt he
           was ready to leave. [Redacted] forwarded the email to [Redacted]. When Levandowski arrived
           at work on January 26, 2016, [Redacted] removed Levandowski’s badge and escorted
           Levandowski to a conference room. [Redacted] joined [Redacted] and Levandowski in the
           conference room to discuss why Levandowski was leaving. [Redacted] told Levandowski that
           he heard that Lewandowski was recruiting people. Levandowski told [Redacted] that there are
           a lot of people who share his view about the direction of the project.
           After the meeting, [Redacted] walked Levandowski to Levandowski’s desk where Levandowski
           gathered his personal belongings. At some point [Redacted] also asked Levandowski how
           things got to this point and how could he do this to the team. [Redacted] then took
           Levandowski to another conference room where they were joined by [Redacted], the HR
           representative for the Chauffeur program. [Redacted] asked Levandowski why he was leaving
           and Levandowski responded that he was having issues on the project. [Redacted] asked
           Levandowski tot return all of his Google property. Levandowski indicated that it was present at
                                       c
           his desk, which [Redacted] confirmed.   Levandowski also returned 2 laptops and desktops.


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           After [Redacted] and [Redacted] departed, Jade Morgan, a member of Google’s legal team
           appeared via video conferencing to speak to Levandowski about his obligations under his
           confidentiality and non-solicitation agreements with Google. Levandowski asked for guidance
           about how to respond to Google employees who approached him. Morgan did not provide any
           advice. Levandowski asked if he should say, “Happy to meet with you, but I can’t talk about my
           work things because of my contractual obligations to Google.” Morgan and Levandowski
           verbally agreed to the language. No documents were provided to Levandowski at this time.
           After Levandowski left Google, [Redacted], Google’s founder, and [Redacted], the head of
           Chauffer, each called Levandowski to ask what happened. [Redacted] expressed his
           disappointment that Levandowski left and suggested he take a one month vacation and then
           come back. [Redacted] asked Levandowski what he was going to do next and Levandowski
           responded that he might start a new company involving trucks.
           [Redacted] and [Redacted] from Human Resources called as well and they had
                                                                                  haad a nice social
           conversation.
           Contacts with Google Employees Following Departure
           Levandowski stated that a number of Google employees reached out to him about joining
           OttoMotto following his departure from Google including: [Multiple Names Redacted].
           Levandowski stated that he either replied to these individuals and told them he could not
           respond or he did not reply at all. Levandowski stated that he discussed social matters, but
           nothing about OttoMotto. Levandowski did not believe there were any written or electronic
           communications between himself and any Google employees concerning OttoMotto. He did
           note that several Google employees had left Google on their own and explored the possibility
           of joining OttoMotto, including [Redacted], both of whom now work at OttoMotto. He
           reiterated that he had no discussions with these individuals about OttoMotto until after they
           resigned from Google. Since leaving Google, Levandowski stated that he has made it point to
           have no contact with any Google applicants until after they are hired.
           Destruction of Google Property Following Departure
           A few weeks after his departure (he could not recall the precise time frame), Levandowski was
           searching his house for anything that might belong to Google. He discovered in his garage
           some tools (i.e., screwdrivers), pieces of aluminum, nonproprietary robot parts, and old Street
           View test prototype cameras, brackets to mount cameras on the cars, and an old network
           switch, among other things. Levandowski put them in a box and later paid to have a company
           pick up these materials from his house and destroy them, i.e., crushed and melted down. This
           occurred within a week or so prior to his interview. Levandowski did not recall the name of the
           destruction company or the precise date. He said that, although he believed the materials were
           not confidential or proprietary, he did not want to return it to Google for fear of sparking any
           unnecessary backlash.


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           In addition, while Levandowski was searching his home to gather all devices for the due
           diligence, he discovered that he possessed Google proprietary information on five disks in his
           Drobo 5D. The Drobo 5D was located in a closet in a guest bedroom that he used to store
           old/unused devices. The information included source code, design files, laser files, engineering
           documents and software related to the self-driving car.
           Levandowski stated that he downloaded this information in the ordinary course of business
           while working at Google and used it to do his job. He said the last time he used and/or
           accessed the information on the disk was in November/December 2014 and possibly January
           2015. Levandowski indicated that everyone at Google had access to the source code
           repository. Levandowski said that he copied the software onto the disks off of his personal
           Apple MacBook Pro laptop in a True Crypt file. He then inserted the disks into the car’s
           computer for testing and then removed them and stored them in the Drobo 5D.
           Once he discovered that he possessed this information, Levandowski contacted his attorney,
           John Garnder, and Lior Ron. Ron was surprised but stated that they needed to inform Uber that
           they were in possession of this information. At a regularly scheduled status meeting at Uber in
           early March 2016, Ron and Levandowski told Travis Kalanik (Uber’s CEO), Cameron Poetzscher
           (Uber’s Head of Business Development), and Nina Qi (a member of the Business Development
           Group), about the disks. Levandowski told them that he found some Google-related files and
           that he wanted to get rid of them. He told them that there is “stuff on them I don’t want you to
           have and you don’t want to have.” Poetzscher stated that Ron and Levandowski should not
           delete the disks so that Uber could understand what was on the disks (for preservation and
           record keeping purposes). Kalanik responded that they should not take advice from Poetzscher
           and that, if Ron and Levandowski possessed Google information, he did not want to know
           about it and did not want it at Uber. Kalanik told Levandowski to “do what [he] need[ed] to
           do.” Levandowski understood this statement to mean that Kalanik wanted Levandowski to
           destroy the disks so he told Kalanik that he would destroy them.. In response, Kalanik nodded.
           Poetzcher appeared uncomfortable with this decision. Qi was quiet but appeared to be
           amused and astonished. This conversation lasted approximately three minutes. After the
           meeting ended, Levandowski took the disks to a shredder in Oakland near the airport and had
           the disks destroyed. He described the place as a “mom and pop shop.” He paid cash and did
           not receive a receipt. He did not recall the name of the business.
           Later that afternoon, following the destruction of the disks, Poetzcher called Levandowski and
           told him not to “shred” the disks. Levandowski told Poetzcher that he had already destroyed
           the disks. To which Poetzscher responded that Levandowski should not delete or shred
           anything else. The next day (which he believes was Saturday morning, March 19, 2016)
           Poetzscher called Levandowski again to instruct him not to delete or shred anything else. Over
           the weekend, Ron reiterated the same thing to Levandowski. Levandowski does not believe
           that he shared the contents of the disks with Uber, only that they contained confidential
           information.

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           Contacts with Uber
           Levandowski stated that he first met Kalanik and Garret Camp (Uber’s chairman) in 2012 when
           he gave them a ride the self-driving car. They wanted to buy 20 cars right there but the cars
           were not ready to be sold.
           In 2014, Thrun reintroduced Levandowski to Kalanik, who introduced Levandowski to Jeff
           Holden. Levandowski had two telephone calls with Holden where Holden unsuccessfully
           attempted to convince Levandowski to leave Google for Uber.
           On June 16, 2015, Brian McClendon left Google to join Uber. In July or August 2015,
           McClendon met Levandowski twice for lunch. Levandowski was uncertain who initiated the
           lunches. McClendon and Levandowski talked at a high level about ideas concerning robots.
           They did not specifically talk about a new start-up. Levandowski did express his unhappiness at
           Google. Levandowski might have asked how much Uber would be willing to pay for the
           Chauffer team. Levandowski said that he wanted to have a market valuation for the Chauffer
           team.
           Levandowski contacted McClendon for a third meeting in September 2015. They talked about
           Uber buying lasers from a start-up for Uber’s cars. Levandowski met with McClendon,
           Poetzscher, and Qi at Uber later in September 2015. They discussed the fact that Uber did not
           want to invest in a start-up, but was interested in being a beta customer. Throughout
           September and October 2015, Poetzscher, Qi, Ron, and Levandowski met two additional times
           to discuss the details of a potential customer deal.
           In October 2015, Kalanik contacted Levandowski directly. They met and discussed robot cars.
           Kalanik indicated that Uber did not want to be a customer and instead wanted to be more
           involved in Levandowski’s new venture. Kalanik talked to Levandowski about buying the robot
           vehicle technology. Levandowski and Ron went to Uber after this meeting and discussed selling
           a non-existent company. Poetscher and McClendon were present at this meeting. It was at this
           point that Levandowski first seriously considered leaving Google.4
           In November and December 2015, Levandowski and Ron began meeting with Uber twice a
           month to negotiate the details of a proposed transaction (i.e., price, tax structure, etc.). Some
           combination of either Kalanik, Poetzscher, Qi, and John Bayer (head of Uber’s robot cars
           division) were present at these meetings on behalf of Uber.
           In January 2016, Levandowski, Ron and Uber reached a tentative understanding of the broad
           terms of the proposed transaction. Levandowski felt that there was a clear path for Uber to
           acquire OttoMotto. In February 2016, OttoMotto and Uber signed a term sheet.
           Levandowski stated that there were email messages with McClendon and Holden in his
           personal email accounts. However, Levandowski noted that there were a few text messages

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               In October 2015, the meeting with [Redacted], Levandowski and Uber (which is described above) occurs as well.

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           with Poetzscher, approximately 30 text messages with Qi, approximately 20 text messages with
           Holden, and over 200 text messages with Kalanik.
           Levandowski stated that he would still have left Google if the Uber opportunity did not exist.
           Levandowski believes that he can create the technology without infringing upon any patents by
           Google. His research at Uber will involve delivering lasers, deploying vehicles, and building the
           aftermarket kits. Although he will rely on his experience as an engineer during his time at
           Google, Levandowski will not rely on any information or data from Google.
           Levandowski expects to be in charge of the robot vehicle technology at Uber. Other than Ron,
           no other OttoMotto employees know about the proposed Uber transaction. After he joins
           Uber, Levandowski stated that he will not be competing with Google. He will help build robot
           trucks and aftermarket kits.
           OttoMotto
           Levandowski stated OttoMotto is dedicated to designing trucks which will not require drivers
           and aftermarket kits for converting existing cars in self-driving cars. Levandowski believes that
           there is great profit potential in this market. He does not believe that OttoMotto is competing
           with Google because OttoMotto focuses on self-driving trucks that transport goods, while
           Google is focusing on self-driving cars that will transport people. The aftermarket kits are a
           secondary product. Levandowski stated that OttoMotto needs 50 employees (the majority of
           which have different engineering backgrounds (i.e., software, hardware, mechanical, etc.)) to
           execute its plan.
           Levandowski estimated that OttoMotto currently has approximately 30 employees, 16 of whom
           are former Google employees. He estimated that only 5 or 6 Google employees recently left
           Google to join OttoMotto.
           Levandowski said that the primary source for staffing OttoMotto is referrals. In addition,
           OttoMotto has a recruiter and a recruiting website with job postings. Levandowski’s role in the
           hiring process is that he meets and interviews all non-Google applicants. Although he does not
           have the sole hiring authority, Levandowski can veto applicants. The hiring process involves
           interviews, evaluations and group discussions. Compensation is determined by either looking
           at an applicant’s W2 and matching or determining their skill set and role at OttoMotto. There is
           a separate hiring process for Google employees. No former Google employees are allowed to
           meet, interview or evaluate current Google employees who apply.
           OttoMotto has safeguards in place to prevent new employees from bringing intellectual
           property or confidential information from their former employers. OttoMotto has them sign a
           document confirming that they are not bringing in any information or data from their prior
           employers. Google employee applicants must confirm that they were not solicited. There is no
           training concerning the retention of information and data from former employers.


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           All source code at OttoMotto has to be written and checked in. The policy is that OttoMotto
           employees are not allowed to use their personal devices for work.
           OttoMotto uses some of the same vendors as Google. For example, OttoMotto uses the same
           vendors as Google to manufacture machine parts (but not the same machine parts as Google).
           OttoMotto also purchases equipment, such as tools for circuit boards) from the same vendors
           as Google.
           Accounts/Online Repositories/Personal Devices
           Levandowski and/or his counsel were provided a Questionnaire for Diligenced Employees from
           Stroz Friedberg (attached hereto at Exhibit 1) which he supplied answers to in a document
           dated March 18, 2016 entitled Draft A. Levandowski Responses to Stroz Friedberg
           Questionnaire (attached hereto as Exhibit 2). Levandowski confirmed that the responses
           contained in Exhibit 2 were, to the best of his recollection, accurate and complete.
                  Email Accounts
           Levandowski stated that he had 10 email accounts: levandowski@gmail.com;
           levandowski@mac.com; anothy@levandowskiu.us; antlevandowski@gmail.com;
           alevandowski@hotmail.com; ucsfrobot@gmail.com; andysmith1979@gmail.com; a@ot.to;
           ottomotto.com; and dozerdeveloper@gmail.com.
           Levandowski stated that 98% of his personal emails were in the levandowski@gmail.com
           account, which was established in approximately 2003. Levandowski stated that he only used
           his a@ot.to; ottomotto.com; and dozerdeveloper@gmail.com accounts for work. All of
           Levandowski’s other email accounts were for personal use.
                  Online Repositories
           Levandowski stated that he had only two online repository accounts. The first was a Dropbox
           account that he established in 2010. Levandowski stored both personal and work files in the
           Dropbox account and told us that it was common practice to share work files via Dropbox. He
           shared some files with Ron Sebern, Michele Roderick (his former personal assistant), Stefanie
           Olsen (the mother of his children), Ognen Stojanovski (his attorney), and Suzanna Musick (his
           stepmother). The Dropbox account synchs with his primary Apple laptop.
           The second was a Google Drive account that he established in 2007. Levandowski stored both
           personal and work files in the Google Drive account. He is the only individual who has access to
           the Google Drive account.
                  Personal Devices
           Levandowski listed the following personal individual devices in his possession: (1) iPhone 6S
           (his primary phone which is for personal and work use and shared with no one); (2) iPad Mini
           (which is only for personal use and shared with his girlfriend); (3) iPad 3 (which is only for

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           personal use and shared with his girlfriend); (4) Nexus 7 (which is only for personal use and
           shared with no one); (5) Apple MacBook Pro laptop (which is for personal and work use and
           shared with his girlfriend); (6) Drobo 5D (which was described above in the section concerning
           the destruction of Google property after his departure); and (7) desktop machine (which is only
           for personal use and not shared with anyone).
           Levandowski also mentioned that he had approximately 30 devices in storage – approximately
           10 Dell servers, and 20 home built machines. These 30 devices were part of 510 Systems. After
           Google acquired 510 Systems, Google chose the computers and devices that it wanted to take.
           The 10 Dell servers and 20 home built machines are the assets that Google did not want.
           Levandowski stated that he has not accessed these devices since 2010 or 2011 and that they do
           not contain any Google information or data. Levandowski speculated that these devices likely
           contained 510 Systems data and information.
           Levandowski stated that he kept Google files on his personal Apple MacBook Pro laptop to
           conduct his work. He initially identified 3 locations where Google-related data and information
           were stored: (1) the Downloads folder; (2) the Dropbox folder; and (3) the Chauffeur folder.
           As he accessed his Chauffeur folder he found a subfolder entitled “Google” and seemed
           surprised at the amount of Google-related information that was on his laptop. He does not
           recall when he last accessed these file folders but said some of the files are ones he would have
           used prior to his departure from Google.. The majority of the files, however, were not accessed
           in 2016. He did not otherwise copy or remove any of this information from his laptop.
           In addition, he also informed us that he had the following Google-related third party
           information stored on this laptop, some of which, he stated, may be publically known: (1)
           vendor data sheet and updates; (2) presentations; and (3) manuals.
           With regard to Google email, he initially told us he did not sync his Google mail with this laptop
           and that he only accessed it via the web. However, during the interview he looked at his laptop
           and realized that at one point in time he had, indeed, synced his Google email –
           AnthonyL@google..com.. The most recent email appears to be from 2014. Levandowski did not
           AnthonyL@google.com.
           appear to know that the Google emails were on his laptop and appeared surprised when he
           located them.
           Affirmation
           Levandowski affirmed that the information he provided during his interview was true and
           correct.




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                                   Exhibit 1




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           Questionn aire for Diligenced Employee s
           Prior Employm ent
               ( 1)   When did you begin working for Acme?
               (2)    What documents did you sign when you began working for Acme (i.e.,
                      nondisclosure/confidentiality agreement, non-solicitation agreement,
                      etc.)?
               (3)    In what department(s)/section(s) did you work for Acme? What was
                      your title(s) in those department(s)/section(s)?
               (4)    What were your duties/responsibilities for Acme?
               (5)    What types of documents did you create/wo rk on at Acme (i.e., Word,
                      Excel, Powerpoint, etc.)?
               (6)    When you worked at Acme, were you issued a mobile device, or did you
                      use a personal device to send/receive work-related emails?
               (7)    When you worked at Acme, were you issued a laptop or other
                      equipment? Or did you use your own personal devices to work on Acme
                      documents?
               (8)    How would you access your Acme work document s from outside o f the
                      office?
                      (a)    If you transferred document s to a flash drive/CO/external device,
                             where is that flash drive/CD/ extemal device now and what
                             computer did you use to access those documents?
                      (b) If you connected through VPN, which computer did you use to
                             connect to VPN?
               (9)    Are there any other personal devices through which you accessed Acme's
                     network?
               ( 10) When you worked at Acme, did you email documents that you worked
                     on for Acme to your personal email account? If so, how often did you do
                     this? What email accounts did you use? Were your personal email
                     accounts synched with your smartphone or PDA?
               ( 11) When you worked at Acme, did you ever store any document that you
                     worked on for Acme on any personal digital devices (i.e., smartphones,
                     laptops, hard drives, thumb drives, etc.). If so, please identify those
                     devices?
               ( 12) When you worked at Acme, did you ever store any data or information
                     that you worked on for Acme with an online data repository (i.e.,
                     Dropbox, OneDrive, GoogleDocs, etc.)? Did you ever access any Acme




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                     document s stored in any o f the above mentioned accounts from a
                     personal computer?
               ( 13) Other than the measures described above, did you backup your data at
                     Acme in any other manner? I f so, please describe the manner in which
                     you backed up your data.
           Decision to Leave Acme
               ( 1)   When did you leave Acme?
               (2)    Prior to leaving Acme, did you download /copy any informatio n that you
                      worked on for Acme? I f so, what informatio n did you download /copy?
                      Where is this informatio n currently located? Has any informatio n been
                      transferred to your current company' s computers /networks ?
           Personal Email Accounts
               ( 1)   How many personal email accounts do you have?
               (2)    Please list all o f your email accounts.
                      (a)   For each email account, please list the password that we may use
                            to access that account;
                      (b)   For each email account, please list the approxima te time it was
                            establishe d;
                      (c)   For each email account, please describe what types o f email you
                            received or sent (i.e., personal, work, etc.);
                      (d)   For each email account, please list all o f the individual s that have
                            access to that account;
                      (e)   For each email account, please estimate the total number o f emails
                            in the account; and
                      (f)   For each email account, please identify any encrypted
                            data/infor mation in each account and describe the encryption and
                            the means for bypassing it.
               (3)    Please identify all devices you use/have used to access your personal
                      email accounts.


           Personal Digital Devices
               (1)    What digital devices (i.e., smartphon e, laptop, desktop, hard drive, thumb
                      drive, etc.) do you currently own?




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                           (a)   For each device, please list the password that we may use to access
                                 the data on that device;
                           (b)   For each device, please list the approxima te date that it was
                                 purchased or obtained;
                           (c)   For each device, please list all individuals that have access to this
                                 device;
                           (d)   For each device, please describe what type o f data is stored on that
                                 device;
                           (e)   For each device, please describe what the storage capacity is for
                                 each device;
                           (f)   For each device, please identify any encrypted data on the device
                                 and describe the encryption and the means for bypassing it;
                           (g)   For each laptop/desktop, please list the operating system for each
                                 laptop/desktop; and
                           (h)   For each device, please indicate whether the device has been wiped
                                 or reimaged previously.
               (2)         What digital devices have you owned in the last five years that you no
                           longer own?
                           (a)   For each device, please list the approximate date that it was
                                 purchased or obtained;
                           (b)   For each device, please list the approxima te date that you
                                 disposed o f the device; and
                           (c)   For each device, please describe the reason you disposed o f each
                                 device.
           Personal Online Data Repository
                     (I)         What online data repositories (i.e., DropBox, OneDrive, GoogleDocs,
                                 etc.) do you have an account with?
                                 (a)    For each account, please list the approximate date that you
                                        established the account;
                                 (b)    For each account, please provide the password that we may
                                        use to access the account;
                                 (c)    For each account, please list all the individuals that have access
                                        to that account;
                                 (d)    For each account, please describe the type of data/information
                                        that you have stored in each account;
                                 (e)    For each account, please describe the volume o f data in each




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                               account; and
                         (f)    For each account, please identify any encrypted data in each
                                account and describe the encryption and the means for
                                bypassing it.
                  (2)    What devices do you use/have used to access your accounts with
                         online data repositories?
           Hard Copies
                  ( 1)   Do you have any hard copies o f Acme data/information upon which
                         you worked? If so, please describe the data/information and the
                         location o f the copy.
           Miscellan eous
                  ( 1)   Other than what is referenced above, do you have access to any
                         device/me dia/netwo rk/locatio n where the Acme data/information
                         upon which you worked is stored? If so, please identify the
                         device/media/network/location.




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                                   Exhibit 3




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                  2330 Cowper St.
                  PaiQ Mo. CA 84S01

                  Re:     Your ContklentilllnformatiOn and Non-sotfC{taUoo Obligatio. .

                 Dear Anthony

                 The purpose ()f lhls leUM fs to remind voo
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                 ~~ ("Agreernertf') ·yeo signed when you began your employment wftll Googte. Under 1he
                 Agreement, you are:

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                                                                      GoOGLE INC,

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                 (G)  ArlHlrptlf!!. 1:1CC£Pf FOR C1.AQdS AJUSING UNDER THE SIDE AGREEMENT, Wl·DCII WILL BE
                GO        6D BY S E c n o 8.3 OF THAT AOIWEMENT. IN CONSIDERATION OF MY EMPtOYMEl\1
                 W m l TIID OOMPANY.         P~OMISE TO AltBil'l~:rn A l l EMPLOYMENT-RELATED DlSPUTES, AND
                 MY RECEIPT OF THE OOMPF.N$ATfO , PAY RAJS.1iSAND dml::R BENEFITS PAID TO Me BY THE
                COMPANY, AT PRESENT AND             TilE fUfURE. I AqREn iH A T ANY AND A l l CONTROVERSJ.ES,
                Cl.AIMS OR.DlSPUI'ES WrrHANYO,tm(INCLlJDINGTHECOMPA~'Y AND ANY F.MPI.OYEE, OFRCER,
                DJRfCTOR, SHAREJIOLDER OR Bl3'!\lEftr PLAN OF 'fH£ COMPANY IN THEIR CAPACITY AS SUCH OR
                ODIEJlWISE), Wmtrtf BROUGHT O. AN JN.P~VIDlJAL, OROUP, OR. CLASS BASIS, ARISING OUT
                OF, RPJ.ATINO TO. OR RESUI..11NO FROM. MY ~LOYMENT WlTH THE COMPANY OR l1iE
                TER.tdJNATfON OF MY F.MPl.OYMF;f\T Wmt nm COMPANY, JNCUlntNO ANY BREACH OF 11llS
                  OIW.EM.E!It7. SHt\U. BE SUBJECT TO 800)JNO ARBITRATION UNDEtl THE ARBITRATION RULES
                SET FOllm IN CAUFOIUM CODE OF CIVIL Ptt<>CEDURE SECTION 1280 THROUGH i294.2,
                rncLW1!'40 ECrlON 1283.0S (TilE "R~ AND PUR$ ANT TO CALIFORNIA LAW, DISPUTES
                WJIICJr f AGREE TO AJUUI'AAJE, AND TJlEREBY AO              t o WAIV£ AN_ ¥ RIGHT TO A !RIAL BY
                niRY, INCUJDF. ANY STATIITORY CLAJN UNDlnt A l $ OR FliDEiR.AL LAW, JNCLUDtNG, BUT
                NOT IJMITED TO, CLAIMS UNDER. TlT1.2 VII OFTHECMLlUOJCfS ACT OF 1964. THE AMERlCANS
                WJ1'H.PISA8l1J11ES ACf OF L990. THE AGE DlSCRIMJNA'nON IN F.MPtOYMENT ACT OF ?.967! rm,.
               OLDB WOltKE.RS BENEFrr P.R.OTECl'lON A.cr, ·~ SARBANES-OXLEY Acr. THE WORKER
               ADJlJSTMENT AND RBTRAININO N011PICA l<> ACf, nta CI\LlFORNIA FAIR I::MPWYMEI\"T AND
               HOlJSJNO AG'l', t1IE FAMtl.Y AND MBDIC'AL U~V£ ACT, lffl CAT.lfORNJA FAMll\' RIGHTS AC l',
               THE CALIFORNIA LABOR CODF. CLAIMS OF IIA'RASSMJ!NT, DISCRlMfNA1'TON ANU WRONGFUL
               l~A'flON ~D I J fY STATUfORY CLAIMS. t fURTHER t)}I.'DERSTAND THAT THIS AGIU£M r·.N' 1·
               TO ARDITRATC ALSO APPUl:S TO ANY DISPUTES THAT11JECO~ANY MAY HAVE WITH ME.
               (b)   frgc s/urt. I AGREC 111Af ANY ARDITRA ION WILL BE ADMlNlSTERED BY JUDlClAL
               ARBITRATION &- MEDIATION SERVICES. I'NC. ("JAMS"), PU~UANr TO ITS L\iPLOYMlJ\T
               ARBITRATION RULES & PROCF.T>tJRES (THE 11IAMS RlJI.ES"). I AOREE THA'I rHb ARBrmATOR.
               SHALL HAVE THJi POWER TO DECID~ ANY MOTIONS BROUGHT BY ANY PARTY TO Ulli
               AIUJITRA'OON. lNCLUOJN<.i MOTIONS FOR SUMMARY JUDGMENT ANOIOR ADJUDlCATION,
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               PJUOR TO ANY ARBrrRATJONHEARING. I AlSOAOJUm THAf11ULUBll'RATORSHALL IL'\V£ lH!:
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                           TO AWARD Al kEMEDJES AVAILABLE ul\DER APPUCABU! lAW, AND t H AT' TilE
                  ~BIT1~1QR SHALL AWARD AITORN!!Y.S' fEI.:S AND COSTS TO THE PREYAfUNG PARTY, FXCEPT
                       PROHUUTFD nY LAW l UNDERSTAtiD THAT THF. COMPANY VIIU, PAY FOR A...W
                  ~S'J'RATIVE OR REARING FEES CHARGED BY THE ARBITRATOR OR JAMS l:XQPT 11{AT l
                      L t PAY ANY AliNGFEES ASSOCIATED WITH ANY A1WITRA110NTHAT l INITIATE, BlJr ONLY
                  SO M0CH OF 'rH£ FJLINO F W AS 1 WOULD HAYE iNSTEAD PAID HAD J f!LED A COMPLAINT IN .\
                  CX>ll&T OF LA · I AGREE TIIAT TilE ARBlTRA TOR SHALl. ADMINISTER. AND CONDUCT A.."'Y
                  ARBJ'T'RATION lN ACCORDANCE WlTH CAI.IFORNTA tAW, rNCLliDING THE CAUFORNIA CODE OF
                  CfW.PROCI!DURP., AND THAT THE ARBITRATOR SHALL APPLY SUBSTANTIVE AND PROCEDURAL
                  CAUF'ORHIA LAWTO ANY DJSPUl'E OR CLAIM, WITHOUT REFERENCI-. TO RULF:.S OF CONFLICT OF'
                  LAW. TO THE          THAT          nm
                                                 JAMS RULES CONH..ICT wrrn CAlJFORNTA LAW, CAUFORNIA
                  LAW StwJ.TAk PRI'.C        · I AOREE illATTIIF. DECTSlON'OFrnE ARBITRATOR SHALL BErN
                  WRITING. I OREE THAT ANY ARBITRATION Uh1flf.R THIS AGREEMENI' SHALL Bi: CONDUCI"ED rN
                  SANTA CLARA OOUNTY CAUfOtOOA.

                  (c)   ~. EXCI:PT AS PROVIDED BY TilE RULES AND THIS AGREEMENT, AND EXCEPT FOR
                  ....,_,~ ARIS UNDER 'tH SIDE AOR.JmMENT. \llJnCH WJLL BF. GOVERNED BY SEcrfON 8.3 OF
                  THAT AGREEMENT. ARBlTRATtO SRAil. DR THE SOLE, EXCLUSIVE AND FINAL REMEDY FOR
                  ANY DISPUTE BETWEENME AND THE COMPANY. ACCOliDINGLY. EXCEPT AS PROVlDED FOR BY
                  THE R.ULES   D lHlS AO~. NEffilER l NOR Tiif. COMI'ANY WILL BE PERMITTED TO
                  PUltSUE COURT ACTlON ROOARDJNG CLAIMS THAT ARE SUBJECT TO ARBITRATION..
                  NOTWOliSTANDING. TOE ARBITRATOR WfU. NOT HAVE THE AliTHORin' TO DISRIZGARD OR
                  REFUSE TO F.NFORCE ANY !.AWFUl. COMPANY POUCY, AND THE ARBITRA'.i.DR SHALL NOT
                  ORDER Oil REQUIRE THJ; COMPANY TO ADO.PT A POUCY NOT OTHERWISE REQUIRED BY LAW
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                  REUEf REMEDl ' AVAILABI ' UNDP.RTill: RUl.ES.
                  (~  Ad m lll4t rp rM Rrllfl: t UNDF.ltSTAND THAT THIS AGREEMENT DOES NOT PROH181T ME FROM
                  PURSUINO AN ADMJNISTRAllVE CLAIM WITH. A LOCAL. Sl'A'fE OR FEDERAL ADMINI.STRA1'1VB
                  BODY SOCII S TIIB Ol::l'ARTMBrf 0 FAIR l!MPLOYMENT AND HOUSING, Tiffi EQUAL
                  EMPLOYM& IT OPPOR.TUNf'rV COMMISSION OR THE WORKERS' COMPENSATION BOARD, TillS
                  AOREEMENTOOES. HOWEVER. PR.ECLUDF. ME FROM PtJR.SUJNO CO'GRT ACfiON REGARDlNO A.~Y
                  SUCHCf.AN

                  (~I  f'q lrnt m t{((lflft o(_Agrttmfl!t. I ACKNOWl.F.OO · AND AGREE THAT I AM EXECLliN'G TinS
                  AGIWEMENT VOl.ONTAJULY AND wmrour ANY DURESS OR UNDUE INFLUENCE BY TilE
                  COMPANY OR ANYONE ELSE. J FURTHER ACKNOWLEJXiE AND AGREE THAt 1 HAVE CAREFULLY
                  READ THIS AORF.EMENT ,\ND THAT I HAVE ASkED ANY QUESTiONS NEEDED FOR ME TO
                 UNDER.STAND THE TERMS, CONSEQUb"NCl!S AND BlNDJNO EffEC ' OF 'rHl AGt{ ~t:.ME '"I' A.'!.ff>
                 FUllY UNDERSI'ANDIT.INCLUDINOTHA1'1 AM W.4/VJNG MY RIGHT TOA J URY TRfAL. FINAllY,
                 I AOR.EE TflAT I HAV 8                  PROVIDOO AN OPPORTUNITY TO SEEK THE ADVICE OF AN
                 ATTORNEY OF MY CHOJCE BF.FORE SJ(iNINO THIS AGREEMENT.

                 16.   Gmr!l ProyftJog!
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                of Calibnia WtJhout aivir~~ etr'ect 10 any choice of law rules or pri~pla lhal may mull in the appli uon f the
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                lawsu t fUed theruaawt me by th8 Cootpeny arJStnl tom or relaling to this A pm cnt

                (b) . J hrti!IAUt""f"f. 1 his A~cnt. logcfhcr WJtlt the EJthibit.i herein, my off« lcuer f'rom the Company,llnd
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